Case 1:22-cv-22727-LMR Document 1 Entered on FLSD Docket 08/26/2022 Page 1 of 10




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                     Case No.: ______________

  JAHEL GONZALEZ, and other similarly                 )
  situated individuals,                               )
                                                      )
                     Plaintiff(s),                    )
                                                      )
  v.                                                  )
                                                      )
  1350 S DIXIE LLC d/b/a THESIS HOTEL                 )
  MIAMI; NRI REAL TOKEN TENANT,                       )
  LLC d/b/a THESIS HOTEL MIAMI;                       )
  BRENT REYNOLDS, individually; LINK                  )
  SERVICES CC CORP; and NASSIM N.                     )
  CHAURIYE, SR., individually,                        )
                                                      )
                     Defendants.                      )

                                         COMPLAINT
                             (OPT-IN PURSUANT TO 29 U.S.C § 216(B))

            Plaintiffs, JAHEL GONZALEZ (“Plaintiff”) and other similarly situated individuals, sue

  the Defendants, 1350 S DIXIE LLC d/b/a THesis Hotel Miami; NRI REAL TOKEN TENANT,

  LLC d/b/a THesis Hotel Miami; BRENT REYNOLDS, individually; LINK SERVICES CC

  CORP; and NASSIM N. CHAURIYE, SR., individually (collectively the “Defendants”) and

  allege:

                                          JURISDICTION

            1.     This is an action to recover money damages for unpaid overtime wages under the

  laws of the United States. This Court has jurisdiction pursuant to the Fair Labor Standards Act, 29

  U.S.C. § 201-219 (Section 216 for jurisdictional placement) (“the Act”).




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                                                                                                   1
Case 1:22-cv-22727-LMR Document 1 Entered on FLSD Docket 08/26/2022 Page 2 of 10




                                               VENUE

         2.      Plaintiff is a resident of Miami-Dade County, Florida, within the jurisdiction of this

  Honorable Court. Plaintiff is a covered employee for purposes of the Act.

         3.      1350 S DIXIE LLC d/b/a THesis Hotel Miami; NRI REAL TOKEN TENANT,

  LLC d/b/a THesis Hotel Miami; LINK SERVICES CC CORP (the “Corporate Defendants”);

  BRENT REYNOLDS; and NASSIM N. CHAURIYE, SR. (the “Individual Defendants”), have

  their main place of business in Miami-Dade County, Florida, where Plaintiff worked for

  Defendants, and at all times material hereto were and are engaged in interstate commerce. The

  Individual Defendants, upon information and belief, reside in Miami-Dade County, Florida.

         4.      Defendants 1350 S DIXIE LLC and NRI REAL TOKEN TENANT, LLC (the

  “THesis Defendants” share common ownership, common management, centralized control of

  labor relations, and common offices and interrelated operations. Both companies have Defendant

  BRENT REYNOLDS as one of their principal managers/directors/supervisors who controls how

  the companies are run and how and when employees are paid.

         5.      THesis Defendants own and/or operate a hotel called the THesis Hotel Miami in

  Coral Gables, Florida. In addition, THesis Defendants supervise and control the work and the hours

  worked by employees who physically work at the THesis Hotel Miami in Coral Gables. Defendant

  BRENT REYNOLDS uses different corporate structures to supervise and control the THesis

  Defendants, but ultimately, he is one of the main persons involved in the decision making when it

  comes to running the THesis Hotel Miami and paying the employees who work there.

         6.      THesis Defendants are an integrated enterprise under the law. Alternatively, each

  company is an enterprise under the law and each company is an agent of each other.




                                      www.saenzanderson.com
                                                                                                     2
Case 1:22-cv-22727-LMR Document 1 Entered on FLSD Docket 08/26/2022 Page 3 of 10




          7.      LINK SERVICES CC CORP (the “Staffing Agency”) is a dissolved staffing

  company owned and operated by Defendant NASSIM N. CHAURIYE, SR. Staffing Agency

  provides employees to THesis Defendants to clean and maintain the THesis Hotel Miami in Coral

  Gables. Plaintiff was initially hired to work at the THesis Hotel Miami through the Staffing

  Agency, but then was hired directly to work for the owners/managers of THesis Hotel Miami.

          8.      The Corporate Defendants (THesis Defendants and the Staffing Agency) share

  employees or interchange employees; work in the direct interest of one another; and their

  employees are in the common control of these three defendants. The Corporate Defendants are

  joint employers. Alternatively, each company is an enterprise under the law and each company is

  an agent of each other.

          9.      Each Corporate Defendant is sued individually, as a joint enterprise, as joint

  employers, and as agent of each other.

                            COUNT I: WAGE AND HOUR VIOLATION BY
                                THE CORPORATE DEFENDANTS

          10.     Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-9

  above as if set out in full herein.

          11.     This action is brought by Plaintiff and those similarly situated to recover from the

  Corporate Defendants unpaid overtime compensation, as well as an additional amount as

  liquidated damages, costs, and reasonable attorneys’ fees under the provisions of 29 U.S.C. § 201

  et seq., and specifically under the provisions of 29 U.S.C. § 207. 29 U.S.C. § 207 (a)(1) states, “No

  employer shall employ any of his employees . . . for a work week longer than 40 hours unless such




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                                                                                                     3
Case 1:22-cv-22727-LMR Document 1 Entered on FLSD Docket 08/26/2022 Page 4 of 10




  employee receives compensation for his employment in excess of the hours above-specified at a

  rate not less than one and a half times the regular rate at which he is employed.”

         12.      Jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and by Title 29

  U.S.C. § 216(b). The Corporate Defendants are and, at all times pertinent to this Complaint, were

  engaged in interstate commerce. At all times pertinent to this Complaint, the Corporate Defendants

  operate as organizations which sell and/or market their services and/or goods to customers from

  throughout the United States and also provide their services for goods sold and transported from

  across state lines of other states, and the Corporate Defendants obtain and solicit funds from non-

  Florida sources, accept funds from non-Florida sources, use telephonic transmissions going over

  state lines to do their business, transmit funds outside the State of Florida, and otherwise regularly

  engage in interstate commerce, particularly with respect to their employees.

         13.      Upon information and belief, the annual gross revenue of each one of the Corporate

  Defendants was at all times material hereto in excess of $500,000 per annum.

         14.      Alternatively, the combined annual gross revenue of all of the Corporate

  Defendants was at all times material hereto in excess of $500,000 per annum and/or Plaintiff and

  those similarly situated, by virtue of working in interstate commerce, otherwise satisfy the Act’s

  requirements.

         15.      By reason of the foregoing, the Corporate Defendants are and were, during all times

  hereafter mentioned, enterprises engaged in commerce or in the production of goods for commerce

  as defined in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s) and/or Plaintiff and those

  similarly situated was and/or is engaged in interstate commerce for the Corporate Defendants. The

  Corporate Defendants’ business activities involve those to which the Act applies. The Corporate




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                                                                                                      4
Case 1:22-cv-22727-LMR Document 1 Entered on FLSD Docket 08/26/2022 Page 5 of 10




  Defendants are a hotel and their managing companies and a staffing company, respectively and,

  through their business activities, affect interstate commerce.

          16.     The Plaintiff’s work for the Corporate Defendants likewise affects interstate

  commerce. Plaintiff was employed by the Corporate Defendants as a housekeeper for the

  Corporate Defendants’ business.

          17.     While employed by the Corporate Defendants, Plaintiff worked approximately an

  average of 72-84 hours per week without being compensated at the rate of not less than one- and

  one-half times the regular rate at which she was employed. Plaintiff was employed as a

  housekeeper performing the same or similar duties as that of those other similarly situated

  housekeepers whom Plaintiff observed working in excess of 40 hours per week without overtime

  compensation.

          18.     Plaintiff worked for the Corporate Defendants from approximately January 2021

  through June 2021 and then from approximately December 2021 through March 22, 2022. In total,

  Plaintiff worked approximately 40 compensable weeks under the Act, or 40 compensable weeks

  if we count 3 years back from the filing of the instant action.

          19.     The Corporate Defendants paid Plaintiff on average approximately $13-$14 per

  hour.

          20.     However, the Corporate Defendants did not properly compensate Plaintiff for hours

  that Plaintiff worked in excess of 40 per week.

          21.     Plaintiff seeks to recover unpaid overtime wages accumulated from the date of hire

  and/or from 3 (three) years back from the date of the filing of this Complaint.




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                                                                                                  5
Case 1:22-cv-22727-LMR Document 1 Entered on FLSD Docket 08/26/2022 Page 6 of 10




         22.      Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at the

  time of the filing of this Complaint, Plaintiff’s good faith estimate of unpaid overtime wages is as

  follows:

         a. Actual Damages: $22,400

         b. Calculation: $14 (hourly pay) x .5 (overtime rate) x 80 (approximate number of

               overtime hours) x 40 (compensable weeks) = $22,400

         c. Liquidated Damages: $22,400

         d. Total Damages: $44,800 plus reasonable attorneys’ fees and costs of suit.

         23.      At all times material hereto, the Corporate Defendants failed to comply with Title

  29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that Plaintiff and those similarly

  situated performed services and worked in excess of the maximum hours provided by the Act but

  no provision was made by the Corporate Defendants to properly pay them at the rate of time and

  one half for all hours worked in excess of forty hours (40) per workweek as provided in the Act.

  The additional persons who may become Plaintiffs in this action are weekly-paid employees and/or

  former employees of the Corporate Defendants who are and who were subject to the unlawful

  payroll practices and procedures of the Corporate Defendants and were not paid time and one half

  of their regular rate of pay for all overtime hours worked in excess of forty.

         24.      The Corporate Defendants knew and/or showed reckless disregard of the provisions

  of the Act concerning the payment of overtime wages and remains owing Plaintiff and those

  similarly situated these overtime wages since the commencement of Plaintiff’s and those similarly

  situated employees’ employment with the Corporate Defendants as set forth above, and Plaintiff

  and those similarly situated are entitled to recover double damages. The Corporate Defendants




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                                                                                                     6
Case 1:22-cv-22727-LMR Document 1 Entered on FLSD Docket 08/26/2022 Page 7 of 10




  never posted any notice, as required by Federal Law, to inform employees of their federal rights

  to overtime and minimum wage payments.

          25.     The Corporate Defendants willfully and intentionally refused to pay Plaintiff

  overtime wages as required by the laws of the United States as set forth above and remains owing

  Plaintiff these overtime wages since the commencement of Plaintiff’s employment with the

  Corporate Defendants as set forth above.

          26.     Plaintiff has retained the law offices of the undersigned attorney to represent her in

  this action and is obligated to pay a reasonable attorneys’ fee.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff and those similarly situated request that this Honorable Court:

          A. Enter judgment for Plaintiff and others similarly situated and against the Corporate
             Defendant on the basis of the Corporate Defendant’s willful violations of the Fair Labor
             Standards Act, 29 U.S.C. § 201 et seq. and other Federal Regulations; and

          B. Award Plaintiff actual damages in the amount shown to be due for unpaid wages and
             overtime compensation for hours worked in excess of forty weekly; and

          C. Award Plaintiff an equal amount in double damages/liquidated damages; and

          D. Award Plaintiff reasonable attorneys’ fees and costs of suit; and

          E. Grant such other and further relief as this Court deems equitable and just.

                           COUNT II: WAGE AND HOUR VIOLATION BY
                               BRENT REYNOLDS (OVERTIME)

          27.     Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-26

  above as if set out in full herein.

          28.     At the times mentioned, Brent Reynolds (“Reynolds”) was, and is now, the owner

  and/or main officer of the THesis Defendants. Reynolds was an employer of Plaintiff and others




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                                                                                                      7
Case 1:22-cv-22727-LMR Document 1 Entered on FLSD Docket 08/26/2022 Page 8 of 10




  similarly situated within the meaning of Section 3(d) of the Act [29 U.S.C. § 203(d)], in that this

  defendant acted directly or indirectly in the interests of the THesis Defendants in relation to the

  employees of the THesis Defendants, including Plaintiff and others similarly situated. Reynolds

  had operational control of the THesis Defendants, was involved in the day-to-day functions of the

  THesis Defendants, managed and supervised Plaintiff’s work schedule, and is jointly liable for

  Plaintiff’s damages.

         29.     Reynolds is and was at all times relevant a person in control of THesis Defendants’

  financial affairs and can cause the THesis Defendants to compensate (or not to compensate) their

  employees in accordance with the Act.

         30.     Reynolds willfully and intentionally caused Plaintiff not to receive overtime

  compensation as required by the laws of the United States as set forth above and remains owing

  Plaintiff these overtime wages since the commencement of Plaintiff’s employment with the THesis

  Defendants as set forth above.

         31.     Plaintiff has retained the law offices of the undersigned attorney to represent her in

  this action and is obligated to pay a reasonable attorneys’ fee.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff and those similarly situated request that this Honorable Court:

         A. Enter judgment for Plaintiff and others similarly situated and against Reynolds on the
            basis of the Defendants’ willful violations of the Fair Labor Standards Act, 29 U.S.C.
            § 201 et seq. and other Federal Regulations; and

         B. Award Plaintiff actual damages in the amount shown to be due for unpaid wages and
            overtime compensation for hours worked in excess of forty weekly; and

         C. Award Plaintiff an equal amount in double damages/liquidated damages; and




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                                                                                                     8
Case 1:22-cv-22727-LMR Document 1 Entered on FLSD Docket 08/26/2022 Page 9 of 10




          D. Award Plaintiff reasonable attorneys’ fees and costs of suit; and

          E. Grant such other and further relief as this Court deems equitable and just.

                          COUNT III: WAGE AND HOUR VIOLATION BY
                            NASSIM N. CHAURIYE, SR. (OVERTIME)

          32.     Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-26

  above as if set out in full herein.

          33.     At the times mentioned, Nassim N. Chauriye, Sr. (“Chauriye”) was, and is now, the

  owner and/or main officer of the Staffing Agency. Chauriye was an employer of Plaintiff and

  others similarly situated within the meaning of Section 3(d) of the Act [29 U.S.C. § 203(d)], in

  that this defendant acted directly or indirectly in the interests of the Staffing Agency in relation to

  the employees of the Staffing Agency, including Plaintiff and others similarly situated. Chauriye

  had operational control of the Staffing Agency, was involved in the day-to-day functions of the

  Staffing Agency, managed and supervised Plaintiff’s work schedule, and is jointly liable for

  Plaintiff’s damages.

          34.     Chauriye is and was at all times relevant a person in control of Staffing Agency’s

  financial affairs and can cause the Staffing Agency to compensate (or not to compensate) its

  employees in accordance with the Act.

          35.     Chauriye willfully and intentionally caused Plaintiff not to receive overtime

  compensation as required by the laws of the United States as set forth above and remains owing

  Plaintiff these overtime wages since the commencement of Plaintiff’s employment with the

  Staffing Agency as set forth above.




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                                                                                                       9
Case 1:22-cv-22727-LMR Document 1 Entered on FLSD Docket 08/26/2022 Page 10 of 10




         36.     Plaintiff has retained the law offices of the undersigned attorney to represent her in

  this action and is obligated to pay a reasonable attorneys’ fee.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff and those similarly situated request that this Honorable Court:

         A. Enter judgment for Plaintiff and others similarly situated and against Chauriye on the
            basis of the Defendants’ willful violations of the Fair Labor Standards Act, 29 U.S.C.
            § 201 et seq. and other Federal Regulations; and

         B. Award Plaintiff actual damages in the amount shown to be due for unpaid wages and
            overtime compensation for hours worked in excess of forty weekly; and

         C. Award Plaintiff an equal amount in double damages/liquidated damages; and

         D. Award Plaintiff reasonable attorneys’ fees and costs of suit; and

         E. Grant such other and further relief as this Court deems equitable and just.


  Dated: August 26, 2022.

                                                        Respectfully submitted,

                                                        By:__/s/ Julisse Jimenez
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                                                                                                    10
